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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

FLORIDA GROWERS ASSOCIATION,
INC., et al.

      Plaintiffs,


v.                                         Case No. 8:23-cv-889-CEH-CPT
JULIE A. SU, Acting Secretary of
Labor, in her official capacity, et al.,

      Defendants.
________________________________________/

                    RESPONSE TO MOTION TO DISMISS

      The Plaintiffs respond to the Defendants’ motion to dismiss Count IV

of the Amended Complaint. See ECF 79. Plaintiffs have carefully and

studiously examined the Defendants’ motion. While Plaintiffs believe that

they have good arguments against the motion1, they nevertheless

recognize that under the deferential law governing the arguments related

to Section 605 of the Regulatory Flexibility Act that continued litigation

over Count IV of the Defendants’ motion is not in the best interests of the




      Section 605(b) agency certifications of “no significant impact” are
      1


subject to judicial review of the underlying factual assertions (Southern
Offshore Fishing Ass’n v. Daley, 995 F. Supp. 1411, 1434 (M.D. Fl. 1998)),
and the Defendants’ assertions as to the effect of this wage rule have
already proven to be wildly inaccurate.
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thousands of farmers who need a timely resolution of the remaining counts

in the Plaintiffs’ operative complaint.

      Given the ongoing harm to Plaintiffs and their agricultural employer

members, Plaintiffs will consent to the dismissal of Count IV of the

Amended Complaint, but respectfully urge the Court to require Defendants

to file an answer to the remaining complaint as soon as possible, so that

the parties’ upcoming summary judgment motions can be filed on the

schedule set by the Court, without any further delay. The Defendants

have had 13 months to prepare an answer to those claims and have

already answered similar claims in litigation pending in the Western

District of North Carolina. An answer should be able to be filed in short

order, and Plaintiffs would ask that the Court direct that to happen.

Dated: May 17, 2024

                                      FLORIDA GROWERS
                                      ASSOCIATION, INC.;
                                      NATIONAL COUNCIL OF
                                      AGRICULTURAL EMPLOYERS;
                                      FLORIDA CITRUS MUTUAL;
                                      FLORIDA FRUIT AND VEGETABLE
                                      ASSOCIATION; G&F FARMS, LLC,
                                      AND FRANBERRY FARMS, LLC

                                      By:/s/ Christopher J. Schulte
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                                     Counsel for Plaintiffs



                       CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2024, I filed the foregoing Response

to Motion to Dismiss via CMECF which will serve all attorneys of record.

                                          By:/s/ Christopher J. Schulte
                                               Attorney




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